                    Case 16-30892               Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                              Desc Main
                                                               Document     Page 1 of 35
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Estella
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Bradley
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



                                   Stella Bradley
2.   All other names you have Estella Everett Bradley
     used in the last 8 years
                                   Estella E. Bradley
     Include your married or       Stella E. Bradley
     maiden names.                 Stella Everett
                                   Estella Everett



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4286
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
                    Case 16-30892           Doc 1         Filed 09/28/16 Entered 09/28/16 15:13:48                             Desc Main
                                                            Document     Page 2 of 35
Debtor 1   Estella Bradley                                                                            Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1995 Water Chase Drive
                                 New Lenox, IL 60451-4819
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Will
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 16-30892            Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                               Desc Main
                                                              Document     Page 3 of 35
Debtor 1    Estella Bradley                                                                               Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Northern District of
                                              District    Illinois (Chicago)            When     12/17/15               Case number      15-42439
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                    Case 16-30892            Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                                  Desc Main
                                                            Document     Page 4 of 35
Debtor 1    Estella Bradley                                                                                Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 16-30892              Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                            Desc Main
                                                              Document     Page 5 of 35
Debtor 1    Estella Bradley                                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                    Case 16-30892           Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                                    Desc Main
                                                           Document     Page 6 of 35
Debtor 1    Estella Bradley                                                                               Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.

                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts
                                           Non Consumer

17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Estella Bradley
                                 Estella Bradley                                                   Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     September 27, 2016                                Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                    Case 16-30892              Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                             Desc Main
                                                                Document     Page 7 of 35
Debtor 1   Estella Bradley                                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ J. Kevin Benjamin ARDC #:                                      Date         September 27, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                J. Kevin Benjamin ARDC #:
                                Printed name

                                Benjamin | Brand | LLP
                                Firm name

                                1016 W. Jackson Boulevard
                                Chicago, IL 60607-2914
                                Number, Street, City, State & ZIP Code

                                Contact phone     (312) 853-3100                             Email address         attorneys@benjaminlaw.com
                                6202321
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                  Desc Main
                                                                   Document     Page 8 of 35
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                    Desc Main
                                                                   Document     Page 9 of 35


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                    Desc Main
                                                                  Document     Page 10 of 35
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                 Desc Main
                                                                  Document     Page 11 of 35
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                        Desc Main
                                                                  Document     Page 12 of 35
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       Northern District of Illinois
 In re       Estella Bradley                                                                                   Case No.
                                                                                    Debtor(s)                  Chapter      13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                   $
             Prior to the filing of this statement I have received                                         $
             Balance Due                                                                                   $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                        $                       0.00
             The undersigned shall bill against the retainer at an hourly rate of                          $                     425.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     $    310.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           To Be Paid by Debtor (or Chapter 13 trustee on behalf of Debtor from approved
                                                                     interim fee application orders).

                                                                     Attorney Compensation based upon the hourly rates as indicated in the
                                                                     attached attorney client retainer agreement executed between the parties.

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Services that are included in the firm's representation are defined specifically in the attorney client retainer
                 agreement executed between the parties and no other legal services are included.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Services that are included in the firm's representation are defined specifically in the attorney client retainer
               agreement executed between the parties and no other legal services are included and therefore are excluded.




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                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                 Desc Main
                                                                  Document     Page 13 of 35
 In re       Estella Bradley                                                                         Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 27, 2016                                                         /s/ J. Kevin Benjamin ARDC #:
     Date                                                                       J. Kevin Benjamin ARDC #: 6202321
                                                                                Signature of Attorney
                                                                                Benjamin | Brand | LLP
                                                                                1016 W. Jackson Boulevard
                                                                                Chicago, IL 60607-2914
                                                                                (312) 853-3100 Fax: (312) 577-1707
                                                                                attorneys@benjaminlaw.com
                                                                                Name of law firm




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                      Case 16-30892          Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                               Desc Main
                                                           Document     Page 14 of 35
                                                       BENJAMIN I BRAND I LLP
          052620 16



                            ATTORNEY CLIENT RETAINER AGREEMENT FOR CHAPTER 13 RELATED SERVICES

This Agreement is executed between Benjamin I Brand I LLP, a Florida Limited Liability Partnership headquartered in Chicago, Illinois ("Firm" or
"Attorney" meaning the law firm its staff and attorneys), and the undersigned ("Client"), whether one or more parties individually or jointly, (and
collectively the "Parties"). In cases of joint representation of spouses, communication with one spouse will be deemed communication with both
spouses. Attorney may disclose to both spouses any facts disclosed by either spouse. Client has been advised to close or draw down any financial
account at an entity to which Client owes or may owe money. Client has received a free consultation with no obligation to retain Attorney or to proceed
to file a Chapter 13 bankruptcy petition ("petition for relief'), and the Parties agree that any prior consultation time is now part of the legal services that
have been performed.

Client authorizes Attorney, at their sole discretion and at Attorneys expense, to hire other Attorneys to act in their behalf regarding attendance at 341
meetings, court appearances and/or bankruptcy hearings. More then one attorney and staff may work on this matter. Further, the Parties agree that the
Attorney may retain other attorneys as consultants on matters related to this Agreement, and Client agrees to compensate these attorneys for services
rendered on Client's behalf at the rates set forth in this Agreement, provided that no services shall be performed by any other outside attorney without
the prior consent of Client to the employment of any other attorney unless otherwise stated in this Agreement.

In the event Attorney commences litigation to collect any fees and expensed incurred on behalf of Client, or otherwise undertakes to enforce this
agreement due to any breach of it by Client, then Client agrees to pay such legal fees and expenses and Client will be responsible for all costs associated
with enforcing the terms of this agreement including but not limited to additional attorney fees and costs.

     Now for and in consideration of the mutual promises and obligations exchanged herein under this Agreement, the Parties agree to as follows:

1.         Retention of Attorney. Client retains and employs Attorney as Clients legal insolvency and bankruptcy counsel, to ensure Attorney' s
commitment of representation and availability to perform or provide legal services reasonably necessary to represent Client's interests, absent
extraordinary circumstances, related to the specific subject matter of this Agreement, and for the specific time period indicated in this Agreement. By
retaining Attorney Client acknowledges Attorney is obligated to: (a) refuse any employment that would ever present a legal conflict of interest, limiting
Attorney' s potential for future clientele; (b) limit the number of new clients it accepts in order that it may perform the work with the highest amount of
efficiency and not take every case; and (c) plan its workload so Attorney may perform all legal services necessary for Client under the subject matter of
this Agreement. These obligations assure Client that Attorney is available to serve Clients to the best of its abilities and Client's interests, subject to the
terms and conditions herein. The value of Attorneys services in relation to the retainer includes this extrinsic value and benefits that Client expressly
agrees it is receiving by retaining Attorney. The value of the Attorneys services is not just determined by the hours or Attorneys "time" but rather
Client is paying for Attorneys collective knowledge and expertise with the exact extrinsic value difficult to quantify. Extrinsic value of Attorney's
services is taken into consideration, along with everything else, in determining the reasonableness of the retainer and the right of Attorney to consider
the retainer earned in certain circumstances. In determining the extrinsic value of Attorneys services it is agreed that the preparation and
representation of clients in a matter under BAPCPA requires many disparate tasks and functions for Attorney and Attorney' s staff, some of which may
require legal expertise and some of which may only be administrative or ministerial in nature and these functions all have value to Client. The value
of Attorney's pre-petition, pre-filing services are not always evident to Client and more time, effort and resources are expended upon representation of
a Client pre-filing of the petition then almost all clients realize.
2.         Legal Representation. Client retains Attorney specifically, solely and exclusively for legal services in representing Clients legal interests in
relation to a proposed filing under Chapter 13 of the USBC ("USBC"), as amended and effective October 17, 2005, known as the Bankruptcy Abuse
and Consumer Protection Act ("BAPCP A"), and for no other matters or services ("Services"). Attorney accepts such representation pursuant to the
specific written terms of this Agreement. Attorney's advice and analysis is based upon circumstances presented by client at the initial consultation
(which may not include full disclosure by Client), as well as current, local, state, and federal laws.
3.         Scope of Legal Services Defined. Attorney shall represent Client generally regarding Clients financial hardships and provide all legal
services reasonably necessary to fully inform Client of any qualifications or eligibility requirements under Chapter 13 of BAPCPA. Attorney may
represent, advise and perform legal services for the Client on matters related to a reorganization, restructuring, workout agreement, bankruptcy proceeding,
or similar transaction contemplated or entered into by Client, including the potential filmg o(a voluntary petition for relief under Chapter 13 BAPCPA or
such other services, or solutions, as may prove related and/or incidental thereto or as specified in this Agreement. Attorney may, with the assistance
and cooperation of Client, its agents and employees, perform the following services as specified under the terms of this Agreement, including, but not
limited to the following: (a) the initial consultation; (b) representation in a Chapter 13 filing and negotiating a plan of reorganization; (c) review and
preparation of documents necessary to file a Chapter 13 petition for relief and preparation and electronic filing of petition, schedules, all statements,
statement of financial affairs, supplemental local forms, creditor list, and other documents and pleadings as necessary; (d) preparation and attendance
of Client at all section 341 meetings of creditors and confirmation hearings were appropriate, negotiations, and other proceedings, related to the
representation as described in this Agreement; (e) advise client as to the rights, duties, and responsibilities as a Chapter 13 debtor; (f) advise client in
relation to available exemptions available under applicable law and in claiming exemptions that best serve the Client's interests; (g) assist Client in
complying with all of the requirements imposed by the bankruptcy laws, the bankruptcy rules, or any local bankruptcy rules or otherwise; (h) review
of proof of claims and objections where appropriate as determined by Attorney with cooperation of Client; and (i) and case administration and
monitoring.



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                         President of the United States. Member of the National Association of Consumer Bankruptcy Attorneys

                         [Page - I of6 THIS AGREEMENT CONTINUES UNTIL CONCLUDING ON PAGE 6]
                 Case 16-30892              Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                                Desc Main
                                                          Document     Page 15 of 35
                                                               BENJAMfN      I BRAND I LLP

4.        Excluded Matters. This Agreement does not retain Attorney for any service(s) or matters not specified herein (except as required under
BAPCPA, USBC or Rules, Local Rules of the US Bankruptcy Comi or the presiding judge) and Attorney will NOT take any action outside of services
described in this Agreement. Specifically, and without limitation, this agreement does not retain Attorney to pursue any appeal(s) related to the subject
matter of this Agreement; for representation in any other chapter of bankruptcy; or of any other person, entity or business that may be owned, affiliated
or associated with by Client or Client's spouse; any pending or future litigation, legal proceedings or services of any type; any foreclosure defense
proceedings or court actions; any loan modifications, mortgage loan forensic or securitization audits services; any traffic or drivers license related
issues; any federal, state, local, divorce, or criminal court proceedings, actions or related matters; and clients are advised to attend all relevant court
hearings or proceedings unless advised otherwise in writing. It is understood that BAPCPA no longer allows for the restructuring or "Cram downs" of
unsecured portions of residential mortgage liens. This agreement does not include representation in any type of adversary complaints or proceedings,
loan workout or restructuring, loan modifications of any kind, mortgage loan forensic or securitization audits, any type of bankruptcy litigation related
to the mortgage of any type, whether the are residential, investment or commercial types, unless at Attorney's sole discretion such an undertaken
would be advise-able post filing of a petition and then Attorney may agree to represent Client subject to the hourly rates of Attorney and the terms and
conditions of this Agreement. In the event Attorney asks Client to enter into a separate retainer agreement for any excluded matter(s), or specifically
adversary related representation, Client will do so upon request.
5.         Conclusion/Termination of Services. When Attorney's services conclude, or upon dismissal of the Chapter 13, withdrawal or discharge of
Attorney, any unpaid fees for legal services, and any costs expended, (any fees or costs that have not been paid through the plan or have not yet been
requested through interim fee applications but earned), shall be due, owing and payable immediately upon said dismissal, withdrawal, discharge of
Attorney, or other event that concludes this matter or terminates services of Attorney. Earned fees and any costs paid to date at that time will neither
be refunded nor credited to any other legal services. Upon cessation of Attorney's active involvement in any particular matter, even if Attorney
continues to represent Client in other matters, Attorney will have no duty to inform Client of future developments, deadlines or changes in the law.
All future work Attorney may handle for Client in the future in other matters will be handled in accordance with this Agreement at our hourly rates
unless otherwise agreed upon. The termination of Attorneys services or conclusion of this Agreement for any reason will not eliminate Clients
obligation to pay for legal services rendered and other charges incurred before termination and in connection with an orderly transition of the matter.
If Client desires to retain Attorney for any other legal services, or upon the expiration or termination of this agreement for any other reason, a new and
separate written retainer agreement specifying the specific representation would need to be executed between the paiiies prior to any such
representation and additional attorney fees and costs may be due in advance, not subject to any previous quoted retainer fees. Attorney is not
obligated to undertake any such new representation and any earned compensation or cost reimbursements received under this Agreement will not be
applied or credited to any new service. At Clients prepaid expense, Attorney will return files, original papers and other property, if any, in its
possession to Client upon a receipt of a request for any such materials unless they are appropriately subject to a lien under applicable law, and
provided that Client has paid all outstanding legal fees and expenses due Attorney.
6.         Client Rights as to Conversion or Dismissal. Bankruptcy law is subject to different interpretations and that there are inherent risks in how
Courts will apply various provisions. Client assumes the risks in filing a chapter 13 bankruptcy petition including that: (a) a chapter 13 can be
involuntarily converted by the court on its own, or a request of the U.S. trustee, chapter 13 Trustee, creditor or party in interest, for cause, including
but not limited to bad faith in filing the petition, non disclosure of assets, liabilities, improper transfers of interest, or otherwise in accordance with the
USBC and relevant case law, to a chapter 7 without Client's approval and can result in the possible liquidation or loss of property, and may also
include denial of discharge and inability of Client to have the converted case dismissed or re-conve1ted; (b) a debtor in a chapter 13 may not have an
absolute right to have the case dismissed upon request, under certain circumstances, and court approval will be required and will not be automatically
granted under certain circumstances; and (c) in an individual case, failure of the debtor to pay post-petition domestic support obligations constitutes
"cause" for dismissal or conversion. Client must be eligible to be a debtor under any chapter of bankruptcy in order to be able to voluntarily convert a
petition to another chapter under the USBC. Upon conversion to a chapter 7 or chapter I I any such fees or expenses due Attorney at the time of
conversion will be treated as administrative expenses with Attorney entitled to priority payment(s) under Sections 503(b) and 507(a)(2) of the USBC,
and in converting the petition additional attorney fees and costs will be incurred with Client remaining obligated for any unpaid balance of earned fees
and costs due on any current and filed petition that is being converted in addition to the new legal fees and costs. Any compensation previously paid
to the date of the conversion will be credited towards attorney fees or costs that have been earned for the pre-converted chapter 13, and only unearned
compensation may be applied or credited to representation in a new or converted Chapter 7, I 1, re-filing a petition, other proceeding or any other
matter. Attorney shall be under no obligation or duty to prepare and file the necessary conversion and related court papers until a new and separate
retainer or fee agreement has been executed by the parties setting forth the terms of such representation with the agreed fees and costs paid in full for
the newly converted chapter 7 or new advanced fee retainer for a newly converted chapter 1 I. Upon request Client will promptly sign a retainer
agreement post conversion for any legal services to be performed post conversion or Attorney will not be obligated to represent client post conversion
and may withdraw.
7.         The Attorneys' Authority To Act. (a) In matters of professional responsibility, the Attorneys shall act in their own discretion as they deem
proper under the applicable rules of court and the Illinois Code of Professional Responsibility and the Courts hearing the litigation or such other
court(s) wherein the Attorneys may come to represent the Clients (collectively "ICPR"), and without any direction from the Clients. However, Client
is free to comment on any aspect of the Attorneys' professional conduct and are encouraged by the Attorneys to do so at any time; (b) Attorney
recognizes that it is the Attorneys' general duty to cairy out the directions of their principal, the Clients, but the Clients recognize that their agents, the
Attorneys, ai·e possessed of special skills and training in legal matters beyond those of the Clients. Therefore, in matters of general strategy, the
Attorneys shall follow the general directions of the Clients where such direction does not impinge upon the Attorneys professional responsibilities in
any or all matters, or the Attorneys' professional judgment in matters concerning which a full consultation with the Clients is not practical-i.e., and
without limitation, how to proceed in open court, when the Clients cannot be reached, or when immediate action is needed; and (c) anything herein to
the contrary notwithstanding, nothing herein shall be construed to limit the Attorneys' responsibilities under the ICPR, but it is the Parties' desire that
the provisions hereof be liberally construed to the extent possible to conform to said ICPR. Should any provision hereof be found to violate the said
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                       [Page - 2 of6 THIS AGREEMENT CONTINUES UNTIL CONCLUDfNG ON PAGE 6]
                Case 16-30892              Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                             Desc Main
                                                         Document     Page 16 of 35
                                                              BENJAMIN      I BRAND I LLP

ICPR, such finding shall not affect the remaining provisions hereof unless such finding would substantially and materially affect the basic purposes
hereof, which are to provide the Clients with legal representation and to provide for reasonable payment to the Attorneys.
8.         Legal Strategies, Good Faith Claims and Ethics.               The Clients understand that some of the matters involved are complex and that
any advice, opinion, consultation and the like, given at the initial consultation(s) is/was preliminary and based upon information provided by Client
and facts available to Attorney at that time. Attorney's further investigation or analysis of the circumstances, facts or discovery of additional facts,
changes in Clients circumstances or the laws, or other future events, may from time to time change the Attorneys' advice regarding any and all matters
brought to them, perhaps materially so. From time to time, strategies may be reevaluated and/or even abandoned entirely depending on, among other
things, the information obtained by the Attorneys, and the reaction of the Clients' Creditors, Lenders, or Servicers to any litigation or defenses brought
on behalf of the Clients and/or settlement proposals and negotiations. The Attorneys are not obligated to begin or to continue to prosecute or defend
any claim that in their sole professional judgment is or becomes objectively or subjectively frivolous, can only be brought in bad faith, or whose
continued prosecution comes to constitute bad faith, violates or comes to violate any rule or code of professional ethics, or has or comes to have so
little chance of success on the merits that it is not reasonable to expect the Attorneys to continue to invest their time in the prosecution thereof. The
Attorneys may advise the Clients to settle any or all of Clients' particular matters in which they become involved. Client will request legal advice in
writing on important matters with regard to which Client may rely upon Attorney for advice. Unless legal advice is given in writing Clients may not
rely on any legal advice. Attorney will take reasonable steps to keep Client informed of any status or progress, and respond to Client's reasonable
inquires, or questions in a reasonable fashion.
9.          Client Obligations, Representations of Good Faith and to Attorney. Client will at all times to be truthful with Attorney, cooperate with
Attorney, respond to Attorney's request timely, and keep Attorney informed of any developments, and current contact info1mation and that Client will
attend all scheduled court hearings IF told to do so by Attorney and Client will attend all scheduled meeting with Attorney as requested by Attorney in
Attorneys office. Attorney will prepare the bankruptcy filing and associated documents based upon information supplied by Client and Attorney will
rely upon this information as being true, accurate, complete and correct. Client attests and affirms that they will attend the section 341 meeting of
creditors ("Trustee Meeting") and that Client has not, and will not, given Attorney any false or misleading information, will not omit any information from
Attorney now or in the future and has and will continue to provide Attorney with timely, complete and accurate information, all requested information, all
requested documentation, questionnaires, intakes, and pertinent information, including full disclosure all financial information to Attorney promptly and
as requested by Attorney and prior to the filing of any petition for relief. If false, incorrect or incomplete information is included, or information is
omitted, it can cause Client additional effort and expense to remedy the error, may place the bankruptcy itself in jeopardy and could result in civil or
criminal liability. It is vitally important that the information included in the bankruptcy schedules be complete and correct to avoid any problems.
Client will review all documents filed as part of the bankruptcy case, and Clients signature on those documents signifies that client has read them,
understood them, and agrees with their contents. Client agrees to perform fully and conscientiously all the duties of a Debtor under the Bankruptcy
Code, and shall timely, comply and communicate, with all reasonable requests for information or reports by the Bankruptcy Court, U.S. Trustee, any
Creditor's Committee, and the Attorney. Client must preserve all records and documents related in any way to this matter, including all electronic
documents and data. If Client should not act with absolute honesty and integrity with Attorney, or fails to fulfill its obligations, cooperate with or
provide Attorney with complete and accurate information or if Client becomes delinquent in the payment of their bills, then the Attorneys may either
decline to represent the Clients or discontinue such representation immediately and without notice, and in either such case, the Clients agree not to
object to the Attorneys' declination, discontinuation of their services or motion to withdraw from this matter without any refund of any earned fees.
Upon the filing of a petition for relief Client, unless otherwise instructed by this office, Client must and will pay all taxes incurred after the date of
filing (and file all necessary tax returns), and maintain any required insurance on real and personal property.
10.         Legal Fees and Billing Practices. The Parties hereto understand and acknowledge that the amount of services to be provided by the
Attorneys and the outcome of the representation are extremely difficult to predict as professional fees charged reflect a number of factors, including
the number of attorney and non attorney hours incurred, the relative experience of the attorney(s) or staff member performing the services, the
difficulty of the matter, and the results obtained for Client. Professional Fees are determined by multiplying the actual number of hours incurred by
the hourly billing rate(s). Compensation will be paid to Attorneys at their customary hourly rates (including all para-professional staff) as they exist
from time to time. Attorney ' s current hourly rates are $425.00 per hour for J. Kevin Benjamin, $375 .00 per hour for Theresa Benjamin, and $125.00
for paraprofessional time (i.e., paralegals, law clerks or legal assistants). Services provided will be charged a minimum billing unit of one-tenth of an
hour, and services will be recorded and billed in one-tenth of an hour increments. Attorney will charge for all services and activities undertaken in
providing legal services to Client under this Agreement, including but not limited to the following: waiting and portal-to-portal travel time, both local
and out of town; conferences/meetings, including preparation and participation; preparation and review of correspondence, email and other
documents; legal research and analysis; court and other appearances, including preparation and participation; and communications, including email,
telephone, facsimile, in-person and other communications with you, other attorneys or persons involved with this matter, governmental agencies and
any other party or person contact with whom is advisable for our representation. Legal personnel assigned by Attorney to this matter may confer
among themselves about Client's matter, as required and each will charge for the time expended. If more than one of Attorney' s legal personnel
attends a meeting, court hearing or other proceeding, Attorney will charge for the time spent by each individual only if it is necessary in Attorney's
judgment to have two or more personnel at the meeting, hearing or proceeding. Clients also agree to pay the Attorneys for any related services
rendered by the Attorneys on behalf of Clients prior to the execution of this Agreement.
11.         Billing Statements. Attorney' s standard practice is to bill each month for services rendered and expenses incurred by us during the
 previous month. Client will receive a copy of invoices with a detailed itemization of all fees and costs incurred, the basis for the fees and costs. The
 billing statement will list the professionals who worked on your matter for that billing period with their hourly billing rates. Payment is due upon
 receipt of Attorney' s invoice. Attorney must approve any different payment arrangements in advance, in writing. Attorney reserve the right to
terminate its representation if payment is not received within fifteen (15) days of its invoice, and Client agrees not to contest Attorney' s withdrawal
 from any court or administrative proceeding if payment is not received within thirty (30) days of its invoice or request. Should Client have any
questions concerning any statement, Client shall contact Attorney to discuss them so that there may be an opportunity to resolve any
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                       [Page - 3 of6 THIS AGREEMENT CONTINUES UNTIL CONCLUDING ON PAGE 6)
                 Case 16-30892               Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                               Desc Main
                                                           Document     Page 17 of 35
                                                                BENJAMIN      I BRAND I LLP

misunderstandings in a mutually agreeab le manner.
12.        Court Approval of Fees Post Filing/Post Petition. Upon the filing of the petition for relief and the duration of this matter all legal fees
related to this Agreement are subject to the jurisdiction and control of the United States Bankruptcy Court for the District in which the petition was
filed and the ultimate fees to be awarded Attorney for its representation may be approved by the Bankruptcy Court while it maintains its jurisdiction
over this matter. Additional attorney fees may be requested by Attorney via interim fee applications filed by Attorney with the Bankruptcy Court
seeking to obtain authorization for further award and payment of additional compensation based upon Attorney's prevailing hourly rates as indicated
in this agreement, as well as for reimbursement of any costs or expenses incurred or expended by Attorney and Client may be charged without any
further notice and in the discretion of the Bankruptcy Co wt for such services, including for costs and attorney fees earned post filing of the petition.
Interim applications are not made on a particular time basis but may be submitted at Attorney's discretion for review and approval by the Bankruptcy
Court. Client agrees to pay to Attorney any award of compensation or expenses promptly upon the entry of a Court order authorizing such award and
in accordance with the tenns of this Agreement and of any order awarding such fees and costs. Any subsequent increase in the attorney fees allowed
by the Court shall be deemed to immediately modify and amend the terms and conditions of this Agreement as to the legal fees due Attorney and shall
be incorporated herein by this reference and with the terms of the order awarding such fees and costs which may be added to your Plan per court order
and may then be paid, post filing, through and included in the Chapter 13 Plan. Thus, it is possible that any additional fees and expenses added to
your plan, or any proofs of claims from creditors with higher amounts claimed then were scheduled by Client, may result in an increase in your
monthly plan payment or in an extension of the length of your Chapter 13 Plan or both. If the case is dismissed after approval of the fees and
expenses but before payment of all allowed fees and expenses, the order entered by the Bankruptcy Court allowing the fees and expenses is not a
judgment against the debtor for the unpaid fees and expenses based on contract law or otherwise. It is simply an order permitting the chapter 13
trustee to pay approved fees to Attorney as part of the payments it makes to creditors under a confirmed chapter 13 plan. Any fee awarded by the court
and paid to Attorney by the trustee would be credited towards any amount for earned compensation or cost reimbursement Attorney would otherwise
be entitled to. The fact that Attorney may seek an award of attorney fees and costs from the court that does not exceed the amount held by the trustee
does not mean Attorney is waiving any earned compensation under this agreement nor is any such an award by the court in such an instance an order
limiting Attorney's earned compensation. Thus if the case is dismissed or pending dismissal the fact that the court awarded Attorney fees, or that
Attorney only sought approval of fees and costs in an amount not exceeding the amount held by the trustee, has no bearing on what Attorney may be
entitled to, and what Client may be obligated to pay to Attorney under this agreement. No such action shall be an indication that Attorney has waived
any right to its compensation or agreed to have reduced or limited any compensation it would otherwise be entitled to under this agreement even if
Attorney only seeks approval for fees that simply do not exceed what is held by the trustee, that is granted by the court. Specifically in any such cases
an award by the court in such an amount is not an order from the court that Attorney has not earned compensation per this agreement in any amount
exceeding the award and it is not an order limiting Attorney's compensation under this agreement in the event that Attorney's services under this
agreement would otherwise entitle Attorney to compensation for earned fees or cost reimbursement above the amount awarded by the court.
In any event, if earned attorney fees and costs reimbursements are not paid as agreed or as ordered by the Court upon the dismissal, completion,
conversion or conclusion of this matter as indicated in this Agreement then they will be due and owing Attorney and Attorney may then invoice or
request prompt payment from Client directly and in accordance with the terms and conditions of this Agreement. This includes any fees or cost
reimbursement that has not been paid to Attorney, but had been awarded Attorney, as well as any earned fees or cost reimbursement that may be due
for any work performed after an award of fees and costs from the time of the last interim fee application, but that has not yet been submitted to the
Bankruptcy Court or reviewed by the Bankruptcy Court if pending, or any amounts earned by Attorney in excess of any amount paid to attorney by
the trustee based upon an fee award sought by Attorney and awarded by the Court that simply was based upon the fact that said amount was all that
Attorney would be able to be paid from the funds the trustee was holding.
 13.       Retainer. The Retainer is not a flat fee all-inclusive Retainer as the amount of work required prior to the filing of a petition for relief and over
the life of a Chapter 13 is hard to ascertain. The Retainer will be credited against any costs or expenses incurred by the Attorney as well for services
performed by Attorney at the hourly billing rates. The retainer is paid by Client to Attorney in order to ensure Attorney's availability and commitment
during a specific time period or for a specific matter as is indicated in this Agreement. Client will pay Attorney a pre-petition, pre-filing retainer in the
total amount that is specified in this Agreement, prior to the filing of any petition for relief (the "Retainer"), and in the following manner. 1) upon a
pre-petition, pre-filing initial retainer; and if necessary (2) an additional pre-petition, pre-filing retainers or retainer payments due prior to the filing of
any Chapter 13 petition. Client understands that in a matter of this kind if may be appropriate to take into account in establishing Attorney's fees
 additional factors, including the complexity of the work, the efficiency with which it is accomplished, the extent Attorney forego's other client
opportunities, the nature of the results, or the like. Thus, Client will pay Attorneys a retainer in the amount listed below, at the time of, or prior to, the
execution of this Agreement ("the Initial Retainer{s}"). The type, definition and classification of each retainer are specifically defined in this
Agreement. The retainer shall be paid from funds of Client. In the event a Client desires to have payments made to Attorney by third parties, and not
 funds of Client, Attorney must specifically be notified. The fact third parties may pay some or all of the Clients' bills do not excuse the tardy payment
of any bill by the Clients. Client may not pay attorney fees or expense by credit card but may use a debit card.
 14.       Type, Definition and Classification of Retainer. All retainers described herein, including all future retainer payments, are expressly
 agreed to be "advance payment retainers" as described in In re Production Associates, Ltd., 264 B.R. 180 (Bkrtcy.N.D .Ill.2001) and Dowling v.
 Chicago Options Associates, Inc., 2007 WL 1288279 (Ill.) and Client expressly agrees to this type of retainer as a condition of Attorney accepting
 representation. No funds will be held in any type of attorney trust fund account as the Attorneys will commingle the retainer and any future retainer(s)
 payments immediately upon receipt with their general funds being obligated only to refund an amount equal to the unearned portion thereof, if any
 (and not the actual retainer funds themselves), promptly after the termination or conclusion of the Attorneys' services or of this Agreement. Client
 maintains a contract right to the performance due from Attorney per this Agreement, but that does not give rise to any property right in any specific
payments or compensation paid Attorney and Attorney is not holding any funds on behalf of Client, now or in the future, related to the specified
retainer or any payments on Attorney compensation. Ordinarily, Clients have the option to request that the retainer be considered a " security retainer"
 where Clients continue to have an interest in the funds, but Clients recognize and agree that the Attorneys would not undertake the representation on
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                       [Page - 4 of6 THIS AGREEMENT CONTINUES UNTIL CONCLUDING ON PAGE 6)
                Case 16-30892              Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                              Desc Main
                                                         Document     Page 18 of 35
                                                              BENJAMIN      I BRAND I LLP


that basis. The Attorneys are obligated by the Dowling case to advise Clients of the reason they would decline to represent Clients on a security
retainer basis, and that reason is the Attorneys do not desire even potentially to compete with the creditors of the Debtor-Clients. This is advantageous
to Clients in the Attorneys' opinion because the Dowling case makes specific reference to creditor problems as a reason justifying either an advance
payment retainer or classic retainer over a security retainer. Fmiher, Attorneys representation is time consuming and Attorney believes the initial
retainer, and pre-petition, pre-filing retainer(s) will be earned quite easily and that the ultimate amount of legal fees will be in excess of the initial
retainer and pre-filing, pre-petition retainer(s), which amount shall be credited against any amounts due at the termination or conclusion of this
Agreement.
15.         Payment on Retainer. If Retainer is paid in installments, those payments must be reasonable, in equal installments divided by the payment
term, and paid timely and in succession until paid in full within the time period stated. If Retainer is paid in installments, those payments must be
reasonable, in equal installments divided by the payment term, and paid timely and in succession until paid in full within the time period stated. If
payment terms are not adhered to, payments dishonored, payments missed, stopped or reversed, then this Agreement shall immediately terminate
without further notice to Client. In that event all previous receipts of earned compensation and costs will not be refunded and no further professional,
legal or ethical responsibility will afforded to Client by Attorney from that time forward. Further, if Client desires to retain Attorney for any other
legal services, or upon the expiration or termination of this agreement for any other reason, a new and separate written retainer agreement specifying
the specific representation would need to be executed between the parties prior to any such representation and additional attorney fees and costs may
be due in advance, not subject to any previous quoted retainer fees. Attorney is not obligated to undertake any such new representation and any
earned compensation or cost reimbursements received under this Agreement will not be applied or credited to any new service.
16.         Payment Credits. All payments on account of the indebtedness represented by this Agreement shall be applied first to accrued and unpaid
 interest, late charges, collection fees, additional attorney fees and the remainder to principal on any Retainer fees, legal fees, cost or due diligence
reimbursement and finally filing fees, despite any characterization by Client on any payment. Client authorizes Attorney to apply the "filing fee" and
any payment for expenses that have not been incurred towards the Attorneys retainer. In the event Client is re-filing, re-retaining Attorney for an
initial filing, or even retaining attorney for a new matter, it is understood and agreed that any payments toward compensation will be credited first to
any balance owed on any previous case(s)/accounts and any funds Client may think they are paying for a re-filing or re-retaining or other case will be
applied to previous cases first.
17.         Attorney Lien.       Client hereby grants Attorneys a lien on any and all claims, causes of action, judgments or settlements that are the
subject of the representation under this Agreement, or may arise from the subject of this Agreement. Attorneys' lien will be for any sums due and
owing at the conclusion of services.
 18.         Security Interest. Client grants Attorney a security interest through an attorney's lien on such funds paid to Attorney to the extent of
 Attorneys fees and costs.
 19.         Filing Fee. The Retainer does not include the $310.00 filing fee for a Chapter 13 (subject to change at anytime) or any costs, expenses or
due diligence. The Filing Fee is not due until the petition is actually going to be filed and Client agrees to NOT pay that to Attorney in advance of
filing or until told to do so by Attorney.
 20.         Client's Obligations to Pay Designated Costs, Fees, Expenses and Due Diligence. Client understands that in addition to any attorney
fees that client is responsible for any and all reasonable costs associated with said representation and Attorneys due diligence. At Clients expense,
 Attorney is empowered to obtain information about Client's assets, credit, creditors, taxes, debts, income, expenses and other public and non-public
 information that may be used to verify and ensure the completeness of the information provided by Client as part of Attorney's due diligence and
ordinary course of representation. Such information may not be comprehensive or complete. It is obtained for background information and to aid
Attorney's due diligence. Attorney may order multiple due diligence products at its discretion as due diligence may be done when retained, before
 filing, any time in between, or as often as Attorney deems prudent as before filing some due diligence may have become stale. These costs, expenses
 and due diligence are not part of Attorney' s overhead.
 21.         Statute of Limitations and Tolling. It is understood the filing of a petition in bankruptcy will "Toll" any statute if Limitations period,
 including but not limited to, any Internal Revenue Services, local, state and federal taxes, non-dischargeable debts, lawsuit deadlines, or collection
 periods, etc.
 22.         Disclaimer of Guarantee. (1) Nothing in this Agreement or any statements to Client will be construed as a promise or guarantee regarding the
 outcome of the Client's matter or chance for success and no guarantee as to specific results has been given to Client, with any express or implied
 comments about specific results or potential outcome of matters pertaining to Client are expressions of opinion only and do not create or imply a promise,
 warranty, representation, guarantee, as to a specific outcome on Clients matte; (2) Attorney has not made any promise or guarantee to "save" any real
 property of Client, or that a cause of action against any creditor or lender exists or would result in any creditor or lender's agreement to change,
 modify, or restructure any loan terms or reduce any negative equity in real property; (3) There are risks in filing for bankruptcy, including the possible
 liquidation or loss of prope1iy and Client understands that bankruptcy law is subject to different interpretations and that there are inherent risks in how
 Courts will apply various provisions; (4) If a Chapter 13, since confirmation of a Chapter 13 plan requires a court order, no guarantees or
 representations are made as to whether such approval will or can be obtained or that client will obtain a discharge under any chapter of the USBC; (5)
 Legal services and proceedings are uncertain, and there are various interpretations and changes in the laws occur as well as unknown factors that may alter
 the outcome or results; (6) Client acknowledges there is NO GUARANTEE to\ the successful filing of a petition for relief under any chapter of the USBC,
 confirmation of any plan of reorganization, or the defense of any motion to dismiss, modify the automatic stay, adversary proceeding or contested matter,
 and that there are, in fact, significant risks if a Standing Trustee, U.S. Attorney/Trustee or Creditor prevails in any action; & (7) Attorney makes no
 guarantee that Client will be eligible and qualify to file a petition for relief under any certain chapter of the USBC now or in the future.
 23.         Dishonored Payments. Attorney will charge Client $50.00 on all dishonored checks or payments dishonored, returned NSF, Insufficient Funds
 or Account Closed, Payment Stopped, Payment Reversed or Charged Back, Unauthorized, declined debit/credit card, and the like. Client will pay will pay
 all fees/costs associated with collection, of said dishonored checks/payments. If Client issues a check to Attorney that is not honored for any reason, or
 debit or credit card is declined, dishonored, reversed or charged back and any dishonored payment is not immediately resolved by Client, this agreement
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                       President of the United States. Member of the National Association of Consumer Bankruptcy Attorneys

                       [Page - 5 of6 THIS AGREEMENT CONTINUES UNTIL CONCLUDING ON PAGE 6]
                  Case 16-30892                     Doc 1        Filed 09/28/16 Entered 09/28/16 15:13:48                            Desc Main
                                                                  Document     Page 19 of 35
                                                                        BENJAMIN      I BRAND I LLP

will be deemed concluded and Clients file closed automatically with no further notice required to be given by Attorney to Client.
24.        Agreement Complete. This instrument contains the terms and conditions constituting the entire Agreement between the parties and may
not be modified except by a written agreement signed by all parties. There are no promises, terms, conditions or obligations applicable to Attorney's
representation hereunder, except as expressly set forth in this Agreement. The terms hereof supersede any previous oral or written agreements or
understandings between the parties with respect to Attorney's representation, with all previous understandings or agreements having been merged
herein. In the event any provision hereof for any reason is illegal or unenforceable, the same shall not affect the validity of the remaining provisions.
This Agreement may be signed in Counterparts and each of the terms and provisions of this Agreement are to be deemed severable in whole or in part, and
if any term or provision or the application thereof in any circumstances should be invalid, illegal or unenforceable, the remaining terms & provisions or the
application thereof to circumstances other than those as to which it is held invalid, illegal or unenforceable, shall not be affected thereby and shall remain in
full force & effect.
25.        Rule of Reasonableness. This Agreement shall be construed under a rule of reasonableness at the time it was entered, examining any
provision thereof with a mind that the Parties hereto were acting in good faith and without oppression, attempting to reach a fair and equitable means
on which the Attorneys could pursue the Client's interests on behalf of the Clients and be paid the reasonable fees provided for herein. All actions
taken in accordance herewith shall be construed under a rule of reasonableness as of the time they were taken.
26.        Consent to Jurisdiction and Services. This Agreement shall be deemed executed in the City of Chicago, County of Cook, State of Illinois,
where it arose and where it shall substantially or totally be performed, and shall be construed and governed under the laws of said jurisdiction and
venue by agreement of the Parties. The Parties consent to the subject matter jurisdiction of any such Court and in no event shall any party to this
Agreement contest the jurisdiction or venue of any such court(s) over them with respect to any claims or disputes arising out of this Agreement.
27.        Effective Date.        The representation covered by this Agreement commences only upon the receipt by Attorney of a signed Agreement and
payment of the initial Retainer and prompt, current payments, in succession and as agreed, on any payments toward the full pre-filing, pre-petition
Retainer. Without an agreed payment there is no consideration and no effective contractual, ethical, or legal responsibilities between the parties.
28.        Penalty of Perjury. CLIENT UNDERSTANDS THAT THE INFORMATION DISCLOSED IN OUR PETITION IS GIVEN UNDER
PENALTY OF PERJURY AND THAT THE FEDERAL PENALTY FOR PERJURY MAY INCLUDE IMPRISONMNET AND HEAVY FINES
29.        Time Is Of The Essence.          Any delay on Clients part may disqualify Client for Chapter 13 relief or otherwise adversely affect client's
case. Attorney may not be able to file the case or take other necessary actions, until all requested documents and/or information, including but not
limited to the certificate of credit counseling, are received by Attorney along with all required attorney fees, costs and filing fee.
30.        Copies: A copy, facsimile, electronically signed or other reproduction or copy of this agreement, including any signatures (electronic or
otherwise), shall have the same force and effect as the original and be deemed to be an original for all lawfully enforceable purposes and shall have the
same force and effect as an original.
31.        Pre Filing, Pre-Petition Initial Retainer Terms. The Retainer is not a flat fee all inclusive Retainer as the amount of work required prior to
the filing of a petition for relief (and over the life of a chapter 13 plan if applicable) is hard to ascertain and the Retainer will be credited against the hourly
rates and work performed by Attorney. Upon the filing of the petition for relief any attorney fees or costs that may still be due at the time of filing may
not be invoiced directly to Client and Client may not pay attorney directly on any pre petition amount that may be due and owing as any billing
procedures and direct payments to Attorney are suspended upon the filing of a Chapter 13 petition and during an active Chapter 13.

           The balance of the legal fees may be taken post filing inside the Plan and in accordance with the terms and conditions of this Agreement.

            $ _ _0. _ _.00 Pre-Petition, Pre-Filing Retainer Fee due in full within the payment term per this Agreement before filing a
                           petition (not including filing fee, due diligence or other costs/expenses as stated in this Agreement).
     (-)    $ _ _0_ __ .00 Amount paid today on Pre-Petition, Pre-Filing Retainer at the signing of this agreement.
            $ _ _ 0___ .00 Amount due on Pre-Petition, Pre-Filing Retainer before the filing of any Chapter 13 Petition and Plan, plus
                           the filing fee, due diligence or other costs/expenses as stated in this Agreement.

The undersigned individuals acknowledge to have read, reviewed, understand and received an exact completed copy of all SIX pages of this Agreement
and agree to be bound by all their terms and affirm that I/we are the person(s) requesting services of Attorney under this agreement.

                                          DATED THIS _ _ 9th_ _ DAY OF _ _ September_ _ _ _, 2016

Client(s) confirm that each of them have the necessary authority to execute this agreement and obligate themselves to the terms hereof. Client(s)
hereby authorize and direct Attorney to begin representation immediately and Attorney will undertake representation immediately upon the execution of
this Agreement and thus legal fees will start being earned.


                                                                                 FIRM: BENJAMIN I BRAND I LLP (A debt Relief Agency)



     Print:           STELLA BRADLEY                                             FOR FIRM:       Isl J. Kevin Benjamin
                                                                                 Print: J. Kevin Benjamin, Esq., (on behalf of Benjamin I Brand I LLP)



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                        President of the United States. Member of the National Association of Consumer Bankruptcy Attorneys

                        [Page - 6 of6 THIS AGREEMENT CONTINUES UNTIL CONCLUDING ON PAGE 6]
                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48               Desc Main
                                                                  Document     Page 20 of 35




                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Estella Bradley                                                                             Case No.
                                                                                  Debtor(s)             Chapter    13




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                  93




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: September 27, 2016                                              /s/ Estella Bradley
                                                                       Estella Bradley
                                                                       Signature of Debtor




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    Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                             Document     Page 21 of 35

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                      American InfoSource LP
                      as agent for DirectTV, LLC.
                      POB 5008
                      Carol Stream, IL 60197-5008


                      Andre Bradley
                      1995 Water Chase Drive
                      New Lenox, IL 60451


                      Andre Bruce Bradley
                      1995 Water Chase Drive
                      New Lenox, IL 60451-4819


                      Bayview Financial Loan
                      Attn: Customer Service Dept
                      4425 Ponce De Leon Blvd, 5th Floor
                      Miami, FL 33146


                      Bayview Loan Servicing, LLC
                      2601 S Bayshore Drive
                      4th Floor
                      Miami, FL 33133


                      Bayview Loan Servicing, LLC
                      4425 Ponce de Leon Blvd
                      5th Floor
                      Coral Gables, FL 33146


                      Capital One
                      Attn: Bankruptcy
                      Po Box 30285
                      Salt Lake City, UT 84130


                      Capital One
                      15000 Capital One Dr
                      Richmond, VA 23238


                      Capital One Bank (USA) N.A.
                      c/o Registered Agent
                      Richmond, VA 23218


                      Capital One Bank (USA), N.A.
                      c/o Corporation Service Company
                      1111 East Main Street, #1600
                      Richmond, VA 23218
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 22 of 35


                  CapitalOne Bank
                  Attn: Bankruptcy Dept.
                  Po Box 30285
                  Salt Lake City, UT 84130


                  Cavalry Portfolio Services, LLC
                  Attn: Bankruptcy Specialist
                  500 Summit Lake Drive, Suite 400
                  Valhalla, NY 10595


                  Cavalry SPV I, LLC
                  assignee-Union Federal Savings Bank
                  POB 27288
                  Tempe, AZ 85282


                  Cavalry SPV I, LLC
                  500 Summit Lake Drive
                  Suite 400
                  Valhalla, NY 10595


                  Chase Bank USA, N.A.
                  601 Oakmont Lane
                  3rd Floor
                  Westmont, IL 60559


                  Chase Bank USA, N.A.
                  200 White Clay Center Drive
                  Newark, DE 19711


                  Chase Manhatton Mortgage
                  3415 Vision Dr
                  Columbus, OH 43219


                  Chase Manhatton Mortgage
                  P.o. Box 24696
                  Columbus, OH 43224


                  Chase USA c/o CHF, LLC
                  700 Kansas Lane Mail Code
                  LA4-4106
                  Monroe, LA 71203


                  Chex Systems, Inc.
                  7805 Hudson Road
                  Suite 100
                  Saint Paul, MN 55125
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 23 of 35


                  ChexSystems Collection Agency, Inc.
                  Dept. 9500
                  Los Angeles, CA 90084-9500


                  Cmppntrs/northwestern
                  2400 Reynolds Rd
                  Winston Salem, NC 27106


                  ComEd
                  POB 6111
                  Carol Stream, IL 60197-6111


                  Contract Callers, Inc.
                  a/k/a CCI
                  1058 Claussen Road, Suite # 110
                  Augusta, GA 30907


                  Credit Management Cont
                  Attn: Bankruptcy Dept
                  Po Box 118288
                  Carrollton, TX 75011


                  Credit Management Cont
                  P.o. Box 1654
                  Green Bay, WI 54301


                  Credit Management Lp
                  4200 International Pkwy
                  Carrollton, TX 75007


                  DirecTV
                  PO Box 6550
                  Englewood, CO 80155-6550


                  DirecTV
                  PO Box 6414
                  Carol Stream, IL 60197-6414


                  Diversified Consultant
                  Dci
                  Po Box 551268
                  Jacksonville, FL 32255
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 24 of 35


                  Diversified Consultant
                  10550 Deerwood Park Blvd
                  Jacksonville, FL 32256


                  ECMC
                  Lockbox #8682
                  POB 16478
                  Saint Paul, MN 55116-0478


                  ECMC
                  POB 16408
                  Saint Paul, MN 55116-0408


                  ECMC
                  Attn: Bankruptcy Representative
                  POB 16408
                  Saint Paul, MN 55116-0408


                  Encircle Collections I
                  Attn: Bankruptcy Dept
                  1691 Nw 107th Ave
                  Doral, FL 33172


                  Equifax
                  POB 740241
                  Atlanta, GA 30374


                  ERC/Enhanced Recovery Corp
                  8014 Bayberry Rd
                  Jacksonville, FL 32256


                  Experian
                  NCAC
                  P.O. Box 2002
                  Allen, TX 75013


                  Focus Receivables Management
                  1130 Northchase Parkway
                  Suite 150
                  Marietta, GA 30067


                  Greentree
                  Po Box 460700
                  Escondido, CA 92046
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 25 of 35


                  Illinois Department of Revenue
                  Bankruptcy Section
                  POB 64338
                  Chicago, IL 60664-0338


                  Illinois Dept of Human Services
                  c/o Illinois Attorney General
                  160 N. LaSalle Street, Suite N-1000
                  Chicago, IL 60601


                  Illinois Dept of Human Services
                  Social Services Organization
                  100 S. Martin Luther King Jr, Drive
                  Springfield, IL 62703


                  IMC Credit Services
                  Imc Credit Services
                  Po Box 20636
                  Indianapolis, IN 46220


                  IMC Credit Services
                  6955 Hillsdale Ct
                  Indianapolis, IN 46250


                  Internal Revenue Service
                  Centralized Insolvency Operation
                  POB 7317
                  Philadelphia, PA 19101-7317


                  Internal Revenue Service
                  Centralized Insolvency Operation
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Internal Revenue Service
                  230 S. Dearborn Street
                  Room 2600, M/S 5014CHI
                  Chicago, IL 60604


                  Internal Revenue Service
                  Centralized Insolvency Operations
                  POB 7346
                  Philadelphia, PA 19101-7346
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 26 of 35


                  Jefferson Capital Systems
                  16 Mcleland Rd
                  Saint Cloud, MN 56303


                  John Deere
                  1300 River Drive
                  Moline, IL 61265


                  John Deere Financial FSB
                  6400 NW 86th Street
                  POB 6600
                  Johnston, IA 50131-6600


                  Johnson, Blumberg & Associates
                  230 W. Monroe Street
                  Suite 1125
                  Chicago, IL 60606


                  Kluever and Platt, LLC
                  Attn: Ross Brand
                  65 E. Wacker Drive, Suite 2300
                  Chicago, IL 60601


                  Mdhe
                  330 Stuart Street
                  Boston, MA 02216


                  Mdhe
                  Po Box 7878
                  Madison, WI 53707


                  Med Business Bureau
                  Po Box 1219
                  Park Ridge, IL 60068


                  Med Business Bureau
                  1460 Renaissance Dr
                  Park Ridge, IL 60068


                  MTGLQ Investors, L.P.
                  85 Broad Street
                  New York, NY 10004-2434
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 27 of 35


                  Navient
                  123 S Justison St Ste 30
                  Wilmington, DE 19801


                  Navient Solutions
                  POB 9655
                  Wilkes Barre, PA 18773


                  Navient Solutions, Inc.
                  POB 13611
                  Philadelphia, PA 19101-3611


                  Navient Solutions, Inc.
                  Attn: Claims Processing
                  P.O. Box 9500
                  Wilkes Barre, PA 18773-9500


                  Navient Solutions, Inc.
                  POB 9640
                  Wilkes Barre, PA 18773-9640


                  Navient Solutions, Inc.
                  220 Lasley Avenue
                  Wilkes Barre, PA 18706


                  Nicor Gas
                  1844 Ferry Road
                  Naperville, IL 60563


                  Northstar Location Services, LLC
                  Attn: Financial Services Department
                  4285 Genesee Street
                  Cheektowaga, NY 14225-1943


                  Northwestern University
                  PO Box 970004
                  Boston, MA 02297-0004


                  Ntl Acct Srv
                  1246 University Avenue W
                  Saint Paul, MN 55104
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 28 of 35


                  Pamela McGuire
                  Clerk, Circuit Court of Will County
                  14 W. Jefferson Street
                  Joliet, IL 60432


                  Portfolio Recovery
                  Attn: Bankruptcy
                  Po Box 41067
                  Norfolk, VA 23541


                  Portfolio Recovery
                  120 Corporate Blvd Ste 1
                  Norfolk, VA 23502

                  Sallie Mae
                  Tuition Answer Loan Processing
                  POB 859243
                  Braintree, MA 02185


                  Sallie Mae Bank
                  c/o Sallie Mae
                  50 Braintree Hill Park, Suite 300
                  Braintree, MA 02184


                  Shellpoint
                  55 Beattie Place
                  Suite 110
                  Greenville, SC 29601


                  Shellpoint Mortgage Servicing
                  POB 10826
                  Greenville, SC 29603-0826


                  Shellpoint Mortgage Servicing
                  POB 740039
                  Cincinnati, OH 45274-0039


                  Shellpoint Mortgage Servicing
                  POB 619063
                  Dallas, TX 75261-9063


                  Sheriff of Will County
                  Will County Court Annex
                  57 N. Ottawa Street, Courtroom 201
                  Joliet, IL 60432
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 29 of 35


                  The Affiliated Group I
                  Po Box 7739
                  Rochester, MN 55903


                  The Affiliated Group I
                  P.o. Box 7739
                  Rochester, MN 55903


                  The First Marblehead Corporation
                  1 Cabot Road
                  Suite 200
                  Medford, MA 02155


                  TransUnion Consumer Solutions
                  P.O. Box 2000
                  Chester, PA 19022-2000


                  Tuition Management Services
                  171 Service Avenue
                  Second Floor
                  Warwick, RI 02886


                  UFSB Private Loan SPV, LLC
                  c/o The Corporation Trust Company
                  1209 Orange Street
                  Wilmington, DE 19801


                  Union Federal Savings Bank
                  1565 Mineral Spring Avenue
                  Providence, RI 02904


                  Us Dept Ed
                  Po Box 1030
                  Coraopolis, PA 15108


                  Us Dept Ed
                  Po Box 4222
                  Iowa City, IA 52244


                  Water Chase Homeowner's Association
                  c/o Marsha Ross
                  21237 S. LaGrange Road
                  Frankfort, IL 60423
Case 16-30892   Doc 1   Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                         Document     Page 30 of 35


                  Wells Fargo Finance
                  Mac F82535-02f
                  Po Box 10438
                  Des Moines, IA 50306


                  Wells Fargo Finance
                  3201 N 4th Ave
                  Sioux Falls, SD 57104


                  Will County Sheriff
                  14 W Jefferson Street
                  Joliet, IL 60432


                  Zwicker & Associates, P.C.
                  7366 N. Lincoln Avenue
                  Suite 102
                  Lincolnwood, IL 60712
             Case 16-30892              Doc 1       Filed 09/28/16 Entered 09/28/16 15:13:48                               Desc Main
                                                     Document     Page 31 of 35

B 201B (Form 201B) (12/09)
                                                  United States Bankruptcy Court
                                                         Northern District of Illinois
 In re    Estella Bradley                                                                               Case No.
                                                                         Debtor(s)                      Chapter       13

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                            Certification of Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Estella Bradley                                                             X /s/ Estella Bradley                             September 27, 2016
Printed Name(s) of Debtor(s)                                                  Signature of Debtor                             Date

Case No. (if known)                                                         X
                                                                                Signature of Joint Debtor (if any)            Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
                 Case 16-30892                    Doc 1          Filed 09/28/16 Entered 09/28/16 15:13:48                                 Desc Main
                                                                  Document     Page 32 of 35
                                      STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341

INTRODUCTION
Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Trustee, United States Department of Justice, has prepared this information sheet to help
you understand some of the possible consequences of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make you
aware of...

(1)         the potential consequences of seeking a discharge in bankruptcy, including the effects on credit history;
(2)         the effect of receiving a discharge of debts
(3)         the effect of reaffirming a debt; and
(4)         your ability to file a petition under a different chapter of the Bankruptcy Code.

There are many other provisions of the Bankruptcy Code that may affect your situation. This information sheet contains only general principles of law and is not a
substitute for legal advice. If you have questions or need further information as to how the bankruptcy laws apply to your specific case, you should consult with your
lawyer.

WHAT IS A DISCHARGE?
The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a court order that says
you do not have to repay your debts, but there are a number of exceptions. Debts which may not be discharged in your chapter 7 case include, for example, most taxes,
child support, alimony, and student loans; court-ordered fines and restitution; debts obtained through fraud or deception; and personal injury debts caused by driving
while intoxicated or taking drugs. Your discharge may be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make a
false oath. Creditors cannot ask you to pay any debts which have been discharged. You can only receive a chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?
The fact that you filed bankruptcy can appear on your credit report for as long as 10 years. Thus, filing a bankruptcy petition may affect your ability to obtain credit in
the future. Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you incurred after you filed for bankruptcy.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?
After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own. Reaffirming a debt means that you sign and file
with the court a legally enforceable document, which states that you promise to repay all or a portion of the debt that may otherwise have been discharged in your
bankruptcy case. Reaffirmation agreements must generally be filed with the court within 60 days after the first meeting of the creditors.

Reaffirmation agreements are strictly voluntary — they are not required by the Bankruptcy Code or other state or federal law. You can voluntarily repay any debt
instead of signing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

Reaffirmation agreements must not impose an undue burden on you or your dependents and must be in your best interest. If you decide to sign a reaffirmation
agreement, you may cancel it at any time before the court issues your discharge order or within sixty (60) days after the reaffirmation agreement was filed with the
court, whichever is later. If you reaffirm a debt and fail to make the payments required in the reaffirmation agreement, the creditor can take action against you to
recover any property that was given as security for the loan and you may remain personally liable for any remaining debt.

OTHER BANKRUPTCY OPTIONS
You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7, you may be
eligible to convert your case to a different chapter.

Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically feasible, all property you own
that is not exempt from these actions.

Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also available to individuals. Creditors vote on whether to accept or reject a plan,
which also must be approved by the court. While the debtor normally remains in control of the assets, the court can order the appointment of a trustee to take possession
and control of the business.

Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers must propose a plan to repay their creditors over a three-to-five year period
and it must be approved by the court. Plan payments are made through a chapter 12 trustee, who also monitors the debtor’s farming operations during the pendency of
the plan.

Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a plan which
must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive a discharge after they
complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not exceed $1,347,500 ($336,900 in
unsecured debts and $1,010,650 in secured debts).

AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION,
INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

 /s/ Estella Bradley                                                          September 27, 2016
 Debtor's Signature                                                           Date




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    Case 16-30892                    Doc 1           Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                                                      Document     Page 33 of 35

                                                     11 U.S.C. § 527(a)(2) Disclosure

In accordance with section 527(a)(2) of the Bankruptcy Code, be advised that:

1. All information that you are required to provide with a bankruptcy petition and during a
   bankruptcy case must be complete, accurate, and truthful.

2. All assets and liabilities must be completely and accurately disclosed, with the replacement
   value of each asset as defined in section 506 listed after reasonable inquiry to establish such
   value.

3. Current monthly income, the amounts specified in the “means test” under section 707(b)(2),
   and disposable income in chapter 13 cases must be stated after reasonable inquiry.

4. Information that you provide during your bankruptcy case may be audited, and the failure to
   provide such information may result in dismissal of the case or other sanction, including a
   criminal sanction.




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    Case 16-30892                    Doc 1           Filed 09/28/16 Entered 09/28/16 15:13:48   Desc Main
                                                      Document     Page 34 of 35

               IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION
                                    PREPARER.

If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
represent you, or you can get help in some localities from a bankruptcy petition preparer who is
not an attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION
PREPARER TO GIVE YOU A WRITTEN CONTRACT SPECIFYING WHAT THE
ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

The following information helps you understand what must be done in a routine bankruptcy case
to help you evaluate how much service you need. Although bankruptcy can be complex, many
cases are routine.

Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
different forms of debt relief available under the Bankruptcy Code and which form of relief is
most likely to be beneficial for you. Be sure you understand the relief you can obtain and its
limitations. To file a bankruptcy case, documents called a Petition, Schedules, and Statement of
Financial Affairs, and in some cases a Statement of Intention, need to be prepared correctly and
filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once
your case starts, you will have to attend the required first meeting of the creditors where you may
be questioned by a court official called a 'trustee' and by creditors.

If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
may want help deciding whether to do so. A creditor is not permitted to coerce you into
reaffirming your debts.

If you choose to file a chapter 13 case in which you repay your creditors what you can afford
over 3 to 5 years, you may also want help with preparing your chapter 13 plan and with the
confirmation hearing on your plan which will be before a bankruptcy judge.

If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
you will want to find out what should be done from someone familiar with that type of relief.

Your bankruptcy case may also involve litigation. You are generally permitted to represent
yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers,
can give you legal advice.




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                    Case 16-30892                     Doc 1            Filed 09/28/16 Entered 09/28/16 15:13:48              Desc Main
                                                                        Document     Page 35 of 35

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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re         Estella Bradley                                                                                  Case No.
                                                                                                        ,
                                                                                       Debtor
                                                                                                                 Chapter             13




                                         DECLARATION OF COMPLIANCE WITH RULE 9009


                                The undersigned is the attorney for the debtor in this case.

                                The undersigned declares under penalty of perjury that the Schedules and Forms filed in this case for the
                                debtor were computer generated using Best Case Bankruptcy and conform with those prescribed by
                                Bankruptcy Rule 9009.



                      Date         September 27, 2016                                    /s/ J. Kevin Benjamin ARDC #: 6202321
                                                                                         Signature of attorney
                                                                                         J. Kevin Benjamin ARDC #: 6202321
                                                                                         Benjamin | Brand | LLP
                                                                                         1016 W. Jackson Boulevard
                                                                                         Chicago, IL 60607-2914
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